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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 

HENRY CHAN CIVIL ACTION

Plaintiff
VS,

ACADEMY COLLECTION SERVICES,
INC. NO. 08-4874
Defendant.

 

 

STIPULATION OF DISMISSAL
AND NOW, this 21st day of January, 2009, it is hereby Stipulated and Agreed by
and between counsel for plaintiff and counsel for defendant in the above captioned matier

that the above captioned matter be dismissed with prejudice.

Warren & Vullings, LLP

BY:__/s/ Bruce K. Warren
Bruce K. Warren, Esquire
Attorney for Plaintiff

Marshall Dennehey Warner Coleman & Goggin

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Andrew M., Schwartz, Esquire
Attorney for Defendant
